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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                              NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES


         This case has been assigned to District Judge                      George H. King             and the assigned
  Magistrate Judge is              Jay C. Gandhi                     .

                     The case number on all documents filed with the Court should read as follows:


                                                CV14-02626-GHK(JCGx)


         Pursuant to General Order 05-07 of the United States District Court for the Central District of
  California, the Magistrate Judge has been designated to hear discovery related motions.


            All discovery related motions should be noticed on the calendar of the Magistrate Judge.




                                                                         Clerk, U. S. District Court


                  April 8, 2014                                          By A. Duke
                      Date                                                   Deputy Clerk




                                                   NOTICE TO COUNSEL

  A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
  filed, a copy of this notice must be served on all plaintiffs).


  Subsequent documents must be filed at the following location:

       ✖    Western Division                     Southern Division                      Eastern Division
            312 N. Spring Street, G-8            411 West Fourth St., Ste 1053          3470 Twelfth Street, Room 134
            Los Angeles, CA 90012                Santa Ana, CA 92701                    Riverside, CA 92501


  Failure to file at the proper location will result in your documents being returned to you.

CV-18 (08/13)                            NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
